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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,                 )
                                          )
              Plaintiff,                  )
                                          )
       vs.                                )      Case No. 4:16CR00159 AGF
                                          )
LOREN ALLEN COPP,                         )
                                          )
              Defendant.                  )


                                         ORDER

       IT IS HEREBY ORDERED that the sentencing as to defendant Loren Allen

Copp is set for Tuesday, December 17, 2019 at 1:00 p.m.

       IT IS FURTHER ORDERED that the parties shall inform the Court, in writing,

and not less than ten (10) days prior to the sentencing date, whether testimony is to be

presented at sentencing and, if so, the anticipated number of witnesses and the estimated

length of such testimony.

       IT IS FINALLY ORDERED that the parties must file any memoranda no later

than ten (10) days before sentencing date except that a response to a sentencing

memorandum may be filed no later than seven (7) days before the sentencing date.



                                              AUDREY G. FLEISSIG
                                              UNITED STATES DISTRICT JUDGE
Dated this 15th day of November, 2019.
